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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------x
 UNITED STATES OF AMERICA
                                                                       Case No. 1:18-CR-00681

 v.


 MANUEL CHANG


                                     Defendant.
 --------------------------------------------------------------x




             DEFENDANT MANUEL CHANG’S SENTENCING MEMORANDUM




                                                               FORD O’BRIEN LANDY LLP

                                                               Adam C. Ford
                                                               Jamie H. Solano
                                                               Anjula S. Prasad
                                                               Stephen R. Halpin III
                                                               Carolyn A. Sartori
                                                               275 Madison Avenue, 24th Floor
                                                               New York, New York 10016
                                                               aford@fordobrien.com
                                                               jsolano@fordobrien.com
                                                               aprasad@fordobrien.com
                                                               shalpin@fordobrien.com
                                                               csartori@fordobrien.com
                                                               (212) 858-0040

                                                               Attorneys for Minister Chang
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 I.     INTRODUCTION

        As this Court knows full well, the purpose of sentencing any defendant is to impose a

 sentence that is sufficient but not greater than necessary to fulfill the goals of sentencing. 18

 U.S.C. § 3553(a)(2). This case is relatively unusual in that the defendant, Manuel Chang, has

 already been imprisoned for almost six years. He spent the first four-and-a-half years in one of

 the most infamous prisons in the world, known for its harsh conditions, where he served his

 time—awaiting extradition—spending 23 hours a day locked in a solitary cell. And more

 recently, he was in federal custody for a year-and-a-half in MDC in Brooklyn, a facility that this

 Court is well aware has troubling conditions that other judges have noted make the time served

 there even more punitive than usual. This period of incarceration already served by a man who

 —as even the government witnesses at trial testified—is a good, decent man who was attempting

 to do right by his country—is more than sufficient to satisfy the goals of sentencing. We

 respectfully request that Your Honor impose a sentence of time served so that he can promptly

 be deported back to his home country of Mozambique.

        Of course, a sentencing judge has very wide latitude to decide the proper degree of

 punishment for an individual offender and a particular crime. In addition to considering the

 Guidelines range, the district court must form its own view of the “nature and circumstances of

 the offense and the history and characteristics of the defendant.” 18 U.S.C. § 3553(a)(1). The

 sentencing judge is directed, moreover, to consider: (A) the need to reflect the seriousness of the

 offense, to promote respect for the law, and to provide just punishment for that offense; (B) the

 need to afford adequate deterrence to criminal conduct; (C) the need to protect the public from

 further crimes by the defendant; and (D) the need for rehabilitation. Id. § 3553(a)(2)(A)-(D).

 Additionally, district courts must take into account: the kinds of sentences available, id.
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 § 3553(a)(3); any pertinent Sentencing Commission policy statement, id. § 3553(a)(5); the need

 to avoid unwarranted sentence disparities among similarly situated defendants, id. § 3553(a)(6);

 and, where applicable, the need to provide restitution to any victims of the offense, id.

 § 3553(a)(7); see also United States v. Cavera, 550 F.3d 180, 188–89 (2d Cir. 2008).

        Even after Gall and Kimbrough, sentencing judges, certainly, are not free to ignore the

 Guidelines, or to treat them merely as a “body of casual advice.” See United States v. Crosby,

 397 F.3d 103, 113 (2d Cir. 2005). A district court should normally begin all sentencing

 proceedings by calculating, with the assistance of the Presentence Report, the applicable

 Guidelines range. See Gall v. United States, 552 U.S. 38, 48-49 (2007); see also United States v.

 Crosby, 397 F.3d 103,112 (2d Cir. 2005) (describing situations in which “precise calculation of

 the applicable Guidelines range may not be necessary”). The Guidelines provide the “starting

 point and the initial benchmark” for sentencing, Gall, 552 U.S. at 40, and district courts must

 “remain cognizant of them throughout the sentencing process,” id. at 49-50 n.6.

        It is now, however, emphatically clear that the Guidelines are guidelines—that is, they

 are truly advisory. A district court may not presume that a Guidelines sentence is reasonable; it

 must instead conduct its own independent review of the sentencing factors, aided by the

 arguments of the prosecution and defense. District judges are, as a result, generally free to

 impose sentences outside the recommended range. When they do so, however, they “must

 consider the extent of the deviation and ensure that the justification is sufficiently compelling to

 support the degree of the variance.” Id. at 50. In this way, the district court reaches an informed

 and individualized judgment in each case as to what is “sufficient, but not greater than

 necessary” to fulfill the purposes of sentencing. 18 U.S.C. § 3553(a); Cavera, 550 F.3d at 189.




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 II.    THE SENTENCING GUIDELINES CALCULATION

        A. The Base Offense Level for Count One is 7.

        The applicable Offense Conduct guideline is U.S.S.G. §2B1.1. Under §2B1.1, the Base

 Offense Level should be level 7. The Adjusted Offense Level should be 7. The Total Offense

 Level should be 5 with the advisory guidelines range being 0-6 months in Zone A of the

 Guidelines Table. Zone A of the Guidelines makes Minister Chang eligible for Probation.

        There is no evidence that Minister Chang intended to cause any loss or that there was

 ever any “intended loss” as that term is defined by the Application Notes. Quite the opposite,

 while he was the Minister of Finance, all payments were made as required on all of the loans.

 Nor is there any “actual loss,” as there was no reasonably foreseeable pecuniary harm that

 resulted from the offense. Obviously, because “[m]any factors may cause a decline in [an

 instrument’s] price,” the Court “must exclude deflations caused by other factors, such as changed

 economic conditions[.]” United States v. Nordlicht, ECF No. 1005 (Order on Loss Calculation),

 No. 16-CR-00640 (BMC) (E.D.N.Y. July 18, 2023) (quoting United States v. Rutkoske, 506 F.3d

 170, 179 (2d Cir. 2007)).

        The government has not shown that there was any loss caused by this offense,

 accordingly, no increase is warranted under U.S.S.G. §2B1.1(b)(1). See, e.g., United States v.

 Ebbers, 458 F.3d 110, 128 (2d Cir. 2006) (“the loss must be the result of the fraud”); Rutkoske,

 506 F.3d at 179 (“there is no loss attributable to a misrepresentation unless and until the truth is

 subsequently revealed and the price of the stock accordingly declines”); United States v.

 Nordlicht, ECF No. 1005 (Order on Loss Calculation), No. 16-CR-00640 (BMC) (E.D.N.Y. July

 18, 2023) (finding that the loss amount was zero where investors’ loss was caused by “a massive

 and unforeseen collapse in the price of oil that rattled the entire energy market and forced [the

 company] into bankruptcy”). Minister Chang reserves his right to contest any late “proof” of


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 loss, none of which has been provided by the government and none of which is outlined in the

 PSR. See, e.g., United States v. Moran, 2024 WL 2577970, at *1 (E.D.N.Y. May 24, 2024)

 (Garaufis, J.) (finding zero loss amount where government failed to meet its burden).

        B. There were No Losses and No Victims.

        The government also has not shown that this offense involved any victims, so no increase

 is warranted under §2B1.1(b)(2). No other specific offense characteristics apply. Therefore,

 under §2B1.1, the base offense level is 7. Under U.S.S.G. §2X1.1, the base offense level for the

 wire fraud conspiracy charge is thus 7.

        To the extent the government will seek to argue loss even without having providing any

 witness affidavits of loss or any other evidence of loss and notwithstanding that the PSR does not

 contain any proof of loss, the record contains evidence that any eventual problems with the loans

 were due to a myriad of other factors having nothing to do with Minister Chang’s alleged

 conduct, such as the depreciation of local currency. See Tr. at 2155-2156 (reviewing DX 20407-

 A); Tr. at 2156 (“The substantial depreciation of the metical and the decrease in foreign

 exchange reserves has exacerbated the economic crisis.”); Tr. at 1214-15 (investor discussing

 effect of devaluation on an investment, including “that if periods of currency devaluation are

 associated with less international reserves, in other words, because the country has less dollars at

 its disposal, it takes more local currency to buy those dollars”); Tr. at 1231 (investor agreeing

 that the risk of “[c]urrency and commodity price devaluation and volatility” was specifically

 disclosed for the Loan Participation Notes); Tr. at 1816 (investor acknowledging that

 depreciation of the local currency is an economic risk involved in investing in Mozambique

 sovereign debt).

        Likewise, the collapse of the natural gas market in 2014 played a significant role in

 problems servicing the loans. See Tr. at 1023 (investor testifying: “Mozambique had recently


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 discovered enormous amounts of natural gas and that was one of the main reasons under which

 we could feel comfortable that the Mozambican Government would have enough money to repay

 us was because of the development of these gas fields”); id. at 1199 (same); id. at 614-16

 (explaining that “[t]here is no doubt that the oil price crash had an impact on the ProIndicus

 [project] at a high level” and nobody predicted the crash); Tr. at 1213.

        In addition, political appetite for the projects following the change of administration after

 the election was also a factor that contributed to problems with the loans. There were multiple

 opportunities for the loans to be restructured, which were rejected by the new administration’s

 officials. The risk of a new administration’s lack of interest in these projects was a risk that these

 sophisticated investors knew of at the time that they invested in these projects.

        The PSR suggests that the applicable sentencing guideline for 18 U.S.C. § 1343 is

 U.S.S.G. §2C1.1 This is wrong, as is using any calculations and enhancements under this

 guideline. Minister Chang respectfully submits that the applicable sentencing guideline for 18

 U.S.C. § 1343, wire fraud, is U.S.S.G. §2B1.1. See 2023 Guidelines Manual Annotated,

 Appendix A (Statutory Index). U.S.S.G. §2C1.1 applies only to offenses for which Minister

 Chang has never been charged, much less convicted. See id. The Commentary to 2C1.1 makes

 clear that Section 2C1.1 only applies to Section 1343 “if the scheme or artifice to defraud was to

 deprive another of the intangible right of honest services of a public official.” See U.S.S.G.

 §2C1.1, Commentary, “Statutory Provisions.”

        The Indictment has never charged Minister Chang or any other defendant in this case

 with honest services wire fraud under 18 U.S.C. § 1346 or conspiracy to commit honest services

 wire fraud. Nor could it, because honest services fraud does not apply to foreign bribery, as

 Judge Chen detailed in an exhaustive opinion analyzing and applying two recent Supreme Court




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 decisions. See United States v. Full Play Group, S.A., 690 F. Supp. 3d 5, 39-40 (E.D.N.Y. 2023)

 (“the evidence at trial was insufficient to sustain Defendants’ honest services wire fraud

 convictions under § 1346 because the statute does not apply to foreign commercial bribery

 schemes”), appeal docketed, No. 23-7183 (2d Cir. Sept. 26, 2023). Read together, Percoco v.

 United States, 598 U.S. 319 (2023), and Ciminelli v. United States, 598 U.S. 306 (2023), reiterate

 that § 1343’s reach is limited to traditional tangible property interests and the statutory expansion

 in § 1346 to the intangible right to honest services should be narrowly construed. The underlying

 offense here must be traditional wire fraud and cannot be deemed honest services wire fraud, so

 the appropriate sentencing guideline is §2B1.1. See Appendix; Commentary to U.S.S.G. 2B1.1

 (listing 1343 offenses generally).

        C. The Guidelines Range and Offense Conduct for Count Two.

        The appropriate guideline for Count Two is U.S.S.G. 2S1.1. See Appendix A. Under

 §2S1.1, the base offense level should be 7 because the base offense level for the underlying

 offense from which the laundered funds were derived—wire fraud—can be determined. See

 U.S.S.G. §2S1.1(a)(1).

        Under Application Note 2 to §2S1.1, where there are multiple underlying offenses for a

 money laundering charge, “the offense level for the underlying offense is to be determined under

 the procedures set forth in Application Note 3 of the Commentary to §1B1.5.” Under that

 Application Note, wire fraud is the underlying offense that should be applied. As established,

 any violation of Mozambique law would have been, at most, a misdemeanor offense, and there is

 no FCPA liability for foreign officials under federal law, even if the offense would have occurred

 in the United States. See United States v. Hoskins, 44 F.4th 140, 145 (2d Cir. 2022) (“Because

 Hoskins is not an American citizen, was not employed by the American subsidiary, and did not

 enter the United States while allegedly working on the scheme, he falls outside the category of


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 persons directly covered by the FCPA.”). Accordingly, the appropriate underlying offense to be

 used for the money laundering calculation is wire fraud.

        Under §2S1.1(b)(2)(B), a two-level increase is warranted because Minister Chang was

 convicted under 18 U.S.C. § 1956, resulting in an Offense Level 9. Contrary to the PSR,

 however, the Court should not impose a sophisticated laundering enhancement under

 §2S1.1(b)(3). The money laundering conduct consisted of Privinvest wiring money to business

 bank accounts, which the government argued was later wired back to the Republic of

 Mozambique. There is nothing about this conduct that makes this sophisticated. The offense

 conduct is, if anything, the “concealment,” required to satisfy the offense conduct itself. See, e.g.,

 United States v. Eckstein, 2016 WL 546663, at *10 (D.N.M. Feb. 3, 2016) (“There must be such

 a thing as ‘garden-variety’ money laundering if §2S1.1(b)(3) is to retain any meaning. In the end,

 if Eckstein’s money laundering operation qualifies as ‘sophisticated,’ so too does every money

 laundering operation. Thus, the Court will sustain Eckstein’s objection to the PSR’s application

 of a 2-level enhancement under §2S1.1(b)(3) for ‘sophisticated laundering.’”).

        Additionally, under Application Note 5(B), “If subsection (b)(3) applies, and the conduct

 that forms the basis for an enhancement under the guideline applicable to the underlying offense

 is the only conduct that forms the basis for application of subsection (b)(3) of this guideline, do

 not apply subsection (b)(3) of this guideline.” Here, any argument that there was sophisticated

 laundering is identical to the offense conduct underlying the wire fraud offense, i.e., that Minister

 Chang must have engaged in wire fraud because $7 million was sent to Luis Brito’s accounts,

 which the government has alleged are illegal bribe payments purportedly contrary to what

 investors were told. This subsection, thus, should not be applied. See United States v. Arthur, No.

 04-CR-122, 2006 WL 3857491, at *2 (E.D. Wis. Dec. 22, 2006) (declining to apply subsection




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 (b)(3) where “no additional conduct supported the enhancement on the money laundering

 group”), aff’d, 582 F.3d 713 (7th Cir. 2009). Accordingly, the offense level for the money

 laundering count should be Level 9.

        To the extent it is determined that §2C1.1 is an appropriate guideline for either offense,

 Minister Chang objects to the two-level increase under §2C1.1(b)(1). Under Application Note 2,

 “Related payments that, in essence, constitute a single incident of bribery or extortion (e.g., a

 number of installment payments for a single action) are to be treated as a single bribe or

 extortion, even if charged in separate counts.” The government was unable to cohesively

 articulate what each payment purportedly induced; accordingly, this increase should not apply.

        D. Minister Chang Should Receive a Minor Role Adjustment.

        Minister Chang agrees that he should not receive an aggravating-role adjustment under

 §3B1.1, but he objects that he should not receive a two-level mitigation role adjustment under

 §3B1.2(b) as a “minor participant.” For purposes of the adjustment, courts must “determine a

 defendant’s relative culpability only by reference to co-participants in the case at hand[.]” United

 States v. Soborski, 708 F. App’x 6, 11 (2d Cir. 2017) (summary order); see also United States v.

 Alston, 899 F.3d 135, 150 (2d Cir. 2018).

        As an initial matter, the PSR states that a mitigation role adjustment is not appropriate

 because Minister Chang “received bribes and profited from the instant offense.” But Minister

 Chang never received a penny of the money that the government alleged was a “bribe,” all of

 which the government argued was later returned to the Republic of Mozambique. Additionally,

 there is no evidence whatsoever that Minister Chang “profited from the instant offense” in any

 way, shape, or form. The loans were undertaken to address significant national security and

 infrastructure concerns of the highest levels of the Republic of Mozambique. Minister Chang

 never received anything for signing the loan guarantees.


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        Further, under Application Note 3 to §3B1.2, “a defendant who does not have a

 proprietary interest in the criminal activity and who is simply being paid to perform certain tasks

 should be considered for an adjustment under this guideline.” The note continues that “[t]he fact

 that a defendant performs an essential or indispensable role in the criminal activity is not

 determinative.” Note 3 establishes even further that Minister Chang should receive a minor role

 adjustment.

        Indeed, Minister Chang was “less culpable than most other participants in the [alleged]

 criminal activity,” and is thus entitled to a two-level reduction. See Cmt. 5. On the government’s

 theory, the main orchestrators of the alleged criminal scheme were the bankers (including Pearse

 and Singh, who ensured approval on Credit Suisse’s end and both pled guilty), as well as Jean

 Boustani (whom the government alleges facilitated bribes to the bankers as well as to several

 Mozambican officials). Despite the government’s theory that Mr. Boustani was the supposed

 “mastermind” of the alleged conspiracy, Minister Chang maintains that Mr. Boustani engaged in

 no wrongdoing and reiterates that Mr. Boustani was acquitted of all charges against him.

        Minister Chang cannot be said to have played a central part of the alleged conspiracy

 because he is not alleged to have spoken to anyone about the said conspiracy nor is he alleged to

 have even known about the criminal conduct. He was, if anything, a “spoke” in a “spoke and

 wheel” conspiracy.

        Indeed, Andrew Pearse and Surjan Singh testified that they never spoke to Minister

 Chang about their criminal conduct and admitted to lying to Minister Chang in order to hide their

 criminal conduct from him. See Tr. at 472; 474-75 (Pearse testimony that he “did not have an

 agreement[] with Mr. Chang.”); Tr. at 493-94 (Pearse testimony that during his meeting with

 Minister Chang, he did not talk about “bribes or corrupt payments” or that he was receiving




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 money from the subvention fee); Tr. at 704-05 (Pearse testimony that he never told Minister

 Chang that he was splitting part of the reduced subvention fee with Jean Boustani, that he never

 told Minister Chang that he was giving $2.2 million dollars to Detelina Subeva, that he never

 told Minister Chang that he was giving money he received from Privinvest to Surjan Singh, that

 he did not tell Minister Chang that Surjan Singh was receiving payments from Privinvest

 following the EMATUM loan, and that he did not discuss his partnership distribution agreement

 with Palomar with Minister Chang); Tr. at 731-32 (Pearse testimony that while he was working

 for Palomar, he did not tell Minister Chang that he had left Credit Suisse); Tr. at 733-34 (Pearse

 testimony that he did not tell Minister Chang that he was receiving kickbacks from Privinvest in

 connection with the MAM loan, that he did not tell Minister Chang that Surjan Singh received

 any money in connection with the loans, and that he did not tell Minister Chang that anyone at

 VTB received any money in connection with the loans); Tr. at 1374-75 (Singh testimony that he

 did not tell anyone within Mozambique about the payments he received and that he did not tell

 Minister Chang about the payments he received).

        Further, Minister Chang had no role in creating or developing any of the three projects

 for which the loans were extended. See United States v. Paredes, 185 F. Supp. 3d 287, 296

 (E.D.N.Y. 2016) (“Paredes had no involvement in any other aspects of the conspiracy and

 worked solely at the behest of others, qualifying him for a 2–level minor role adjustment.”

 (cleaned up)). And the projects were all supported by other senior Mozambican government

 officials, including the President of Mozambique and the entire Mozambican government. See

 DX 20007-A-T (Letter from Filipe Jacinto Nyusi, the Minister of National Defense, to Minister

 Chang regarding approval of the Exclusive Economic Zone Monitoring and Protection System);

 DX 20022-A-T, DX 20046-A-T, DX 20103-A-T, and DX 20251-A-T (four Central Bank




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 approval letters); Tr. at 516 (Pearse Testimony) (Q: “It was your understanding at the time before

 the Proindicus loan was signed, that President Guebuza supported the Proindicus project, is that

 correct?” A: “Yes.”); Tr. at 2275 (Boustani testimony that President Guebuza had approved

 Proindicus); Tr. at 2287-89 (Boustani Testimony) (“So he welcomed me and he stressed also a

 lot about his [President Guebuza’s] vision of the project and about his happiness to do the project

 and about his strategic view of the importance of this project for security of Mozambique and for

 the economy of Mozambique.”); see also United States v. Wynn, 37 F.4th 63, 69 (2d Cir. 2022)

 (vacating sentence for denial of mitigating-role adjustment and explaining that “[n]o record

 evidence suggests that [defendant] Wynn participated in planning or organizing the . . . criminal

 activity, or exercised decision-making authority or influenced the exercise of decision-making

 authority” (cleaned up)).

        There was nothing inherently criminal about Minister Chang signing the loan guarantees,

 and there was no direct evidence he was induced to do so in exchange for receiving any illegal

 payments. There was only evidence of payments going to Luis Brito and then later to the

 Mozambique government. As compared to the other members of the conspiracy, Minister Chang

 played a “minor role.” Accordingly, a 2-level reduction should be applied to the applicable

 offense level for minor role adjustment under §3B1.2.

        E. An Abuse of Trust Enhancement Should Not Be Applied.

        Minister Chang should not receive a two-level enhancement for abuse of a position of

 public trust under §3B1.3. There is no evidence that Minister Chang used his role as the Minister

 of Finance to facilitate money laundering or to facilitate wire fraud. The alleged misstatements

 were not included in the documents that he signed, and his role as the Minister of Finance was

 not used to facilitate misconduct.




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        Additionally, the government’s theory at trial was not that Minister Chang victimized the

 Mozambican public; it was that he defrauded international investment banks and secondary U.S.

 investors. In the proper context, his relationship to the alleged victims was commercial in

 nature—Minister Chang was acting on behalf of a guarantor for the three entities that borrowed

 money from the banks who later sold off pieces of the loans to private investors. See United

 States v. Jolly, 102 F.3d 46, 48 (2d Cir. 1996) (no abuse-of-trust enhancement because

 “[b]orrower-lender relationships are typically at arm’s-length, and a firm’s obligations to

 creditors are generally regarded solely as contractual”). Such alleged conduct does not fit the

 profile for “abusing a position of public trust.” See PSR ¶ 34.

        Finally, in the alternative, if the Court concludes that §2C1.1 instead of §2B1.1 applies,

 the two-level enhancement is not appropriately applied. Application Note 6 to §2C1.1 expressly

 provides: “Inapplicability of §3B1.3.—Do not apply §3B1.3 (Abuse of Position of Trust or Use

 of Special Skill).” Cmt. 6.

        F. The Appropriate Guidelines Range is 0-6 Months.

        As explained elsewhere, the Adjusted Offense Level should be 7 and the Total Offense

 Level should be 5. A Total Offense Level of 5 yields a range of 0-6 months in Zone A of the

 Guidelines Table and renders Minister Chang eligible for probation. See U.S.S.G. §5B1.1. And

 no factor supports an upward departure or variance.

 III.   72 MONTHS OF TIME SERVED BY MINISTER CHANG IS SUFFICIENT TO
        ACCOMPLISH THE GOALS OF SENTENCING

        A. The Applicable Guideline Range for Minister Chang Overstates the Gravity of
           the Offense.

        U.S.S.G. § 5C1.1 provides a presumption against imprisonment for defendants who (1)

 receive the Zero-Point Offender Adjustment, and (2) the applicable guideline range overstates

 the gravity of the offense because the offense of conviction is not a crime of violence or an


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 otherwise serious offense. As discussed above, Minister Chang is entitled to the Zero-Point

 Offender Adjustment. Because the sentence recommended by probation—360 months to life in

 prison—grossly overstates the gravity of Minister Chang’s offense, for reasons set forth herein,

 in determining the appropriate sentence for Minister Chang, the Court should consider that his

 conduct warrants a presumption against imprisonment under U.S.S.G. § 5C1.1.

        Minister Chang acknowledges that the offense conduct for which he was convicted is a

 serious offense. However, Second Circuit courts have questioned the disproportionate effect loss

 adjustment has on a defendant’s base offense level, and therefore, his sentence range. The court

 in United States. v. Adelson recognized that the Sentencing Guidelines place an “inordinate

 emphasis” on “putatively measurable quantities” such as the amount of actual or intended

 financial loss in fraud cases “because of their arithmetic approach and also in an effort to appear

 ‘objective,’ . . . without, however, explaining why it is appropriate to accord such huge weight to

 such factors. See generally Kate Stith José A. Cabranes, FEAR OF JUDGING: SENTENCING

 GUIDELINES IN THE FEDERAL COURTS (1998).” United States v. Adelson, 441 F. Supp. 2d 506,

 509 (S.D.N.Y. 2006), aff’d, 301 F. App’x 93 (2d Cir. 2008) (summary order). Similarly, the

 court in United States v. Gupta characterized [t]he numbers assigned by the Sentencing

 Commission to various sentencing factors” as “more the product of speculation, whim, or

 abstract number-crunching than of any rigorous methodology—thus maximizing the risk of

 injustice,” further emphasizing that “[b]y making a Guidelines sentence turn, for all practical

 purposes, on this single factor, the Sentencing Commission effectively ignored the statutory

 requirement that federal sentencing take many factors into account, see U.S.C. § 3553(a), and, by

 contrast, effectively guaranteed that many such sentences would be irrational on their face.”

 United States v. Gupta, 904 F. Supp. 2d 349, 351-53 (S.D.N.Y. 2012), aff’d, 747 F.3d 111 (2d




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 Cir. 2014). In sum, New York federal courts have repeatedly criticized the grossly

 disproportionate nature of the loss tables, calling the loss tables “patently absurd” (Adelson, 441

 F. Supp. 2d at 515) and “a black stain on common sense” (United States v. Parris, 573 F. Supp.

 2d 744, 754 (E.D.N.Y. 2008)) that rely upon a “flawed methodology for tabulating white-collar

 sentences[.]” United States v. Johnson, 2018 U.S. Dist. LEXIS 71257 at *14 (E.D.N.Y. Apr. 26,

 2018).

          Probation’s recommended sentence of 360 months to life for Minister Chang is irrational

 on its face, “patently absurd,” and highlights the grossly disproportionate nature of the loss

 tables. As an initial matter, and as discussed above, probation incorrectly attributed a base

 offense level of 14 to Minister Chang’s conduct. Given this flawed starting point, augmented

 through a series of enhancements—including a “potential” loss assumption of $7mm that was

 never proven at trial—probation concluded that the total offense level for Minister Chang, a 69-

 year-old Mozambique national convicted of a non-violent crime, is 42. To put this in perspective,

 the base offense level for a conviction for first degree murder pursuant to §2A1.1 is 43, with a

 corresponding sentence of life in prison. 1 Certainly, the Sentencing Commission did not envision

 such disparate sentencing results based on arbitrary enhancements.

          But had probation applied the correct base level for a money laundering violation with an

 underlying offense of wire fraud—7—the appropriate sentence according to the guidelines for a

 first-time offender of a non-violent crime, like Minister Chang, is 0-6 months incarceration.

 However, according to probation, “The Government has yet to provide the loss suffered by each



 1
  Had probation not applied the two point reduction for a Zero-Point Offender pursuant to U.S.S.G.
 §§4Cl.l(a)(l)-(10), it would have calculated a total offense level of 44 for Minister Chang—one point
 higher than the offense level for first degree murder—and beyond what the sentencing guidelines even
 contemplate.



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 of the victims for [Minister Chang’s] offense[,]” and provided probation with a “list of

 approximately 75 victims two business days prior to the disclosure of th[e] PSR.” (PSR pg. 8). In

 fact, as Minister Chang enters his sixth year in prison, now in MDC awaiting his sentencing, “the

 Probation Department is continuing to send out affidavits of loss.” Id. In other words, no losses

 were proven at trial, and probation and the government seek to augment Minister Chang’s

 sentence indefinitely based on potential “affidavits” purporting to substantiate unproven losses,

 which once “received, the Court will be made aware [of] via an addendum to th[e] PSR.” Id.

 Should such affidavits ever arrive, this Court should reject such late additions to the PSR.

 Compelling a Fatico hearing on an issue not proven at trial, where the government did not even

 attempt to obtain these affidavits prior the filing of the (belated) PSR, and on the eve of

 sentencing, would be patently unfair. It is currently unclear to Minister Chang, when all is said

 and done, what, according to probation, the corresponding offense level to his conduct might

 be—highlighting the completely arbitrary nature of the guideline enhancements corresponding to

 losses.

           Given the evidence at trial, the government failed to prove any losses as acknowledged in

 the PSR. Accordingly, no loss enhancements should be applied to the corresponding base level

 for a wire fraud violation, which is 7. But to further point out both the arbitrary nature of loss

 calculations and how they grossly overstate the gravity of the offense, if affidavits are returned to

 probation (at some unidentified time in the future) averring cumulative losses between $3.5

 million and $9.5 million, with no other applicable enhancements, a first time-offender like

 Minister Chang would face an offense level of 25 with a corresponding guideline range of 57–71

 months. Such an offense level advises a prison term comparable to that recommended for arson,

 aggravated assault or robbery involving serious bodily injury, and transmission of biological




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 weapons causing serious bodily injury. 2 Similarly, a first-time fraud offender convicted of an

 offense with a loss exceeding $9.5 million would face an offense level of 27—with no other

 enhancements—and a guideline range of 70–87 months. Again, under the guidelines, this

 sentence is comparable to that recommended for serious, violent offenses, including attempted

 murder, arson, and assault with intent to commit murder. 3 Significantly, these severe sentences

 are recommended equally to offenders who caused $9.5 million in losses to actual individuals

 and to offenders who caused little or no actual economic harm to any persons.

         The Second Circuit addressed this sentencing disparity in United States v. Algahaim,

 under circumstances similar to Minister Chang’s, where the defendants’ base offense level

 calculations were increased roughly two-and-a half times driven by loss amount. The court in

 Algahaim vacated the defendants’ sentences of 30 and 21 months, respectively, for food stamp

 fraud for the district court to consider imposing nonguideline sentences on the ground that the

 defendants’ Guidelines ranges were significantly increased by the loss enhancements, an unusual

 feature of the Guideline scheme. 842 F.3d 796, 800 (2d Cir. Dec. 1, 2016). Like here, the

 sentences in Algahaim were “driven by the loss amount,” which increased the offense level from

 a 6-month base to levels 18 and 16 respectively. Id. The court noted that the Commission’s loss

 determinant approach is “unknown to other sentencing systems” and reasoned that “its


 2
   See 2023 United States Sentencing Commission Guidelines Manual § 2A2.2 (aggravated assault
 involving a firearm and serious bodily injury to a victim, OL 24 (14 + 5 +5)); Id. § 2B3.1 (robbery
 involving firearm, OL 25 (20 + 5)); Id. § 2B3.2 (extortion by force with the threat of death and
 brandishing of a firearm, OL 25 (18 + 2 + 5)); Id. § 2K1.4 (arson knowingly creating a serious risk of
 death or bodily injury, OL 24); Id. § 2M3.3 (unauthorized disclosure of classified national defense
 information to a foreign government, OL 24); Id. § 2M6.1 (transmitting biological weapons causing
 serious bodily injury to a victim, OL 24 (20 + 2 + 2)); Id. § 2N1.1 (tampering with consumer products
 involving risk of death or bodily injury, OL 25).
 3
   See 2023 United States Sentencing Commission Guidelines Manual § 2A2.1 (attempted murder); Id. §
 2A2.1 (assault with intent to commit murder); Id. § 2B3.2 (extortion by force with the threat of death and
 use of a firearm); Id. § 2D1.10 (endangering human life while illegally manufacturing
 methamphetamine); Id. § 2K1.4 (arson creating a serious risk of death or bodily injury).



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 unusualness is a circumstance that a sentencing court is entitled to consider,” ultimately

 concluding that “[w]here the Commission has assigned a rather low base offense level to a crime

 and then increased it significantly by a loss enhancement, that combination of circumstances

 entitles a sentencing judge to consider a non-Guidelines sentence.” Id.

        Given the foregoing considerations, the Court is entitled to consider a non-guidelines

 sentence should this Court conclude the guidelines range is “driven by the loss amount,” and can

 otherwise begin its analysis with the presumption of a non-incarceration sentence for Minister

 Chang. However, Minister Chang has already served a sentence comparable in length—though

 under far more dire prison circumstances than a United States citizen—to someone convicted of

 attempted murder, arson, and assault with intent to commit murder. Accordingly, we respectfully

 request that the Court find a sentence of time-served—particularly in consideration of the

 additional sentencing factors enumerated in Section 3553—is appropriate for Minister Chang.

        B. The Court Can and Should Impose a Non-Guidelines Sentence.

        Although the Court is obligated to give fair consideration to the United States Sentencing

 Guidelines (the “Guidelines”) before imposing the sentence, “the Guidelines are guidelines—that

 is, they are truly advisory” and “a district court may not presume that a Guidelines sentence is

 reasonable.” Cavera, 550 F.3d at 189. But the Guidelines range is only one component for the

 Court’s consideration at sentencing. The Court must also consider, among other things, the

 defendant’s “history and characteristics” and “the need for a sentence to reflect the basic aims of

 sentencing.” Rita v. United States, 551 U.S. 338, 345-47 (2007). Accordingly, the district court

 has “very wide latitude to decide the proper degree of punishment for an individual offender and

 a particular crime.” Cavera, 550 F.3d at 188.




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         Ultimately, the Court “must make an individualized assessment of the sentence warranted

 by Section 3553(a) based on the facts presented.” United States v. Jones, 531 F.3d 163, 182 (2d

 Cir. 2008) (internal quotations omitted). In addition to the applicable guidelines range, the court

 in Rita summarized the Section 3553(a) factors for consideration as: “(1) the offense and

 offender characteristics; (2) the need for a sentence to reflect the basic aims of sentencing,

 namely (a) just punishment (retribution), (b) deterrence, (c) incapacitation, (d) rehabilitation; (3)

 the sentences legally available; (4) the Sentencing Guidelines; (5) Sentencing Commission

 policy statements; (6) the need to avoid unwarranted disparities; and (7) the need for restitution.”

 Rita, 551 U.S. at 347-48. These factors are the “bedrock of all federal sentencing.” Gupta, 904 F.

 Supp. 2d at 353.

         Considering all of the Section 3553(a) factors, and that a district judge is to “‘impose a

 sentence sufficient, but not greater than necessary,’ to accomplish the goals of sentencing,” we

 respectfully submit that this Court should impose a sentence of either time served, or a sentence

 of less than six years, with the explicit finding that Minister Chang is entitled to credit for the full

 amount of time he has been imprisoned in South Africa and the MDC. Kimbrough v. United

 States, 552 U.S. 85, 101 (2007) (quoting 18 U.S.C. § 3553(a)) (emphasis added). 4




 4
   A sentence that is sufficient but not greater than necessary is one in which Minister Chang is able to
 immediately be deported back to Mozambique. If the Court determines that the guidelines range is more
 than the six years he has already served, this Court should impose a non-Guidelines sentence. If the Court
 agrees with Minister Chang’s guidelines calculation, the Court can sentence him to a guidelines sentence,
 which would have the same effect. For ease and avoidance of confusion, if the Court sentences Minister
 Chang to time served, that would permit him to start the process to be returned to Mozambique
 immediately.


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          C. A Consideration of the 18 U.S.C. § 3553(a) Factors Confirms that a Non-
             Guidelines Sentence Is Appropriate.

             1. 18 U.S.C. § 3553(a)(1): The “Nature and Circumstances of the Offense” and
                the “Characteristics of the Defendant” Warrant a Sentence of Time Served.

                 a. Nature and circumstances of the offense.

          Minister Chang was convicted for conspiracy to commit money laundering, a violation of

 18 U.S.C. § 1956, with the underlying violations of wire fraud and Article 7 or 8 of Mozambique

 law 6/2004. He played a minimal role in the “scheme,” and the evidence at trial showed that,

 although Minister Chang signed the Guarantees, he was unaware of the breadth of the scheme.

 Nor is there any evidence that he was motivated by “greed,” since payments that form the basis

 of his conviction went to an individual named Luis Brito. The payments that went to Mr. Brito

 remained in his accounts until December 2019—when the US government named Mr. Brito in its

 indictment. The facts do not support that Minister Chang was motivated by greed or that he

 personally received any money, either from the violation of Mozambique law, nor from the wire

 fraud.

          Minister Chang was not a “central figure in the fraud, bribery, and money laundering

 scheme,” because he was not a central figure and is alleged to have been—if anything—one

 small “spoke” in a “spoke and wheel” conspiracy. Minister Chang signed and approved the

 government guarantee on behalf of the Mozambique Ministry of Finance. Minister Chang notes

 further that these projects were approved by the Minister of National Defense (Filipe Nyusi), the

 Council of Ministers, and President Guebuza, and that he was directed to secure the financing.

 See DX 20037-A-T (Letter from Filipe Jacinto Nyusi, the Minister of National Defense, to

 Minister Chang regarding approval of the Exclusive Economic Zone Monitoring and Protection

 System); Tr. at 545 (Pearse Testimony) (Q: “When you met with Mr. Chang in February of




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 2013, Mr. Chang confirmed to you that the Proindicus transaction had the approval of President

 Guebaza; is that correct?” A: “Yes.” Q: “He also confirmed to you that the project had the

 approval of the Council of Ministers; is that correct?” A: “Yes.”); GX 3261-A-T at 1 (“The letter

 is an instruction from the Minister of Defence in his capacity as ‘Head of Defense Forces’ to the

 Minister of Finance to implement his part of the decisions subject of the Memorandum (i.e. the

 signing of the term sheet and the guarantee to CS for the loan contract to be signed by

 PROINDICUS”), at 4 (“In that regard, we hereby submit the Terms of Agreement to Your

 Excellency, the Minister of Finance, with the request that Your Excellency, in your capacity as a

 representative of the Republic of Mozambique, in this act, provide your signature on the same.”

 (emphasis added); DX 20037-T (Letter from Filipe Jacinto Nyusi, the Minister of National

 Defense, stating: “[T]he Company has taken out an initial loan of Three Hundred Seventy-Two

 Million US Dollars ($372,000,000.00) to pay for the necessary equipment and Services, by

 means of a guarantee given by Your Excellency. Taking into account the need to increase the

 number of pieces of equipment and contract additional services in order to face the current

 international situation, we hereby request that Your Excellency grant a guarantee for the loan in

 the amount of two hundred and fifty million US dollars ($250,000,000.00) in favour of Credit

 Suisse, pursuant to the attached documents.”) (emphasis added). Further, each of the loans was

 separately approved by the Central Bank of Mozambique, and each of the loans and loan upsizes

 came at the specific request of the Republic of Mozambique’s agency that is the equivalent of its

 Secret Service. See DX 20022-A-T, DX 20046-A-T, DX 20103-A-T, and DX 20251-A-T (four

 Central Bank approval letters); DX 20037-T and DX 20091-T (SISE Letters).

        The evidence at trial established that Minister Chang was instructed to sign the

 government guarantees at the direction of the Ministry of Defence or the Secret Service with the




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 full support of the President of Mozambique and signed the government guarantee on behalf of

 the Ministry of Finance. See GX 3261-A-T at 1 (“The letter is an instruction from the Minister of

 Defence in his capacity as ‘Head of Defense Forces’ to the Minister of Finance to implement his

 part of the decisions subject of the Memorandum (i.e. the signing of the term sheet and the

 guarantee to CS for the loan contract to be signed by PROINDICUS”), at 4 (“In that regard, we

 hereby submit the Terms of Agreement to Your Excellency, the Minister of Finance, with the

 request that Your Excellency, in your capacity as a representative of the Republic of

 Mozambique, in this act, provide your signature on the same.”) (emphasis added); Objection to

 PSR ¶ 17 (listing people who directed Minister Chang to sign). Further, each of these increases

 were done at the specific request of Mozambique’s Secret Service. See DX 20037-T; DX 20091-

 T (SISE Letters).

        Each of the government witnesses explicitly testified that they never agreed to do

 anything with Minister Chang, and certainly never agreed to lie to investors. The Court will

 recall it was Mr. Pearse and Mr. Singh who lied to Minister Chang about their wrongful conduct.

 See Tr. at 472; 474-75 (Pearse testimony that he “did not have an agreement[] with Mr.

 Chang.”); Tr. at 493-94 (Pearse testimony that during his meeting with Minister Chang, he did

 not talk about “bribes or corrupt payments” or that he was receiving money from the subvention

 fee); Tr. at 704-05 (Pearse testimony that he never told Minister Chang that he was splitting part

 of the reduced subvention fee with Jean Boustani, that he never told Minister Chang that he was

 giving $2.2 million dollars to Detelina Subeva, that he never told Minister Chang that he was

 giving money he received from Privinvest to Surjan Singh, that he did not tell Minister Chang

 that Surjan Singh was receiving payments from Privinvest following the EMATUM loan, and

 that he did not discuss his partnership distribution agreement with Palomar with Minister




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 Chang); Tr. at 731-32 (Pearse testimony that while he was working for Palomar, he did not tell

 Minister Chang that he had left Credit Suisse); Tr. at 733-34 (Pearse testimony that he did not

 tell Minister Chang that he was receiving kickbacks from Privinvest in connection with the

 MAM loan, that he did not tell Minister Chang that Surjan Singh received any money in

 connection with the loans, and that he did not tell Minister Chang that anyone at VTB received

 any money in connection with the loans); Tr. at 1374-75 (Singh testimony that he did not tell

 anyone within Mozambique about the payments he received and that he did not tell Minister

 Chang about the payments he received).

                b. Minister Chang’s background and characteristics.

                       i.      Minister Chang’s background.

        Manuel Chang was born on August 22, 1955, in the Gaza Province, Mozambique. He was

 the second of eight children born to Chang Dai Fao and Angelina Rosalina Mugabe, and was

 raised by both parents in the suburbs of Maputo, Mozambique. (PSR ¶¶ 57, 60).

        Manuel’s childhood was difficult. While growing up, his living conditions presented

 numerous challenges, since his father worked in agriculture, which paid a meager salary, and was

 the sole breadwinner for their family of eight children. (PSR ¶ 60). They had no electricity or

 sewer system in their home, and relied on a public fountain for drinking water. Given such a

 large family, their small home was overcrowded. (PSR ¶¶ 60, 62). At times, Manuel and his

 siblings didn’t have proper clothing and had to ask others to lend them shoes. (PSR ¶ 62). These

 harsh conditions were due to the country’s lack of independence, as Mozambique was still

 colonized by Portugal during Manuel’s childhood. (PSR ¶ 60).

        Despite these difficulties, Manuel had access to an education—an opportunity his

 siblings did not share. (PSR ¶ 60). Because, unlike his siblings, Manuel played soccer, and




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 through the connections he made there, he learned how to pursue an education, which eventually

 led to him earning a scholarship to continue the pursuit of higher education. (PSR ¶ 61).

        Growing up, Manuel was a very obedient child, deeply dedicated to his studies. (PSR ¶

 67). He walked 10 kilometers to school each day and sold peanuts to afford school supplies.

 (PSR ¶ 67). In 1975, when Manuel was still in school, he was selected to participate in an official

 protocol of Mozambique’s Independence ceremony. While assisting in the ceremony, he watched

 the President of Mozambique lower the Portuguese flag and raise the Mozambique flag. (PSR ¶

 61). This experience had a great impact on Manuel and inspired his lifelong path of public

 service. (PSR ¶ 61). That same year, due to the financial strain their family was facing, Manuel’s

 father pressured him to leave school and begin working to support the family. During this time,

 many public workers and employees left Mozambique, creating a national need for employers,

 since they had to substitute the colonizers that left. This made it relatively easy for Manuel to

 find a job. So at 19, he began working for the country of Mozambique. (PSR ¶¶ 61, 63).

        In 1977, Manuel married Lizette Adriano Simoes Maia Chang, and together, they had

 four children: Gizela, Gerson, Catia, and Manuela. (PSR ¶¶ 65, 66). At the time of their

 marriage, Manuel worked as an “Aspirante lnterimo” for the Mozambique Ministry of Finance

 before becoming an official, and soon thereafter advanced to a Budget Technician for the State.

 (PSR ¶ 80). In 1985, Manuel earned his bachelor’s degree in economics from the Universidade

 Eduardo Mondlane in Maputo, Mozambique, and later earned a master’s degree in public finance

 at the School of Oriental and African Studies (SOAS) at the London University in England. (PSR

 ¶ 76). Upon completing his education, Manuel became an Economist. (PSR ¶ 80).




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        From 1985 onward, Manuel held multiple positions within the government of

 Mozambique, continuing to work his way up through the Ministry of Finance 5. Throughout his

 career, he continued to participate in academic and professional trainings, including Gestao

 Macroeconomics training at the World Bank Group Academy 6 in Lisbon, Portugal; training in

 Gestao Macroeconomics and Public Finance at the Finance at the International Monetary

 Fund (IMF) in Washington D.C.; and a Public Administration training in Paris, France. (PSR ¶

 77). Then, in 2005, Manuel was selected by the President of Mozambique to become the deputy

 Minister of Finance. (PSR ¶ 63). Initially, he was hesitant and discussed it with his wife and

 children prior to accepting the position. Manuel’s wife, Lizette, advised him not to accept the

 role, as she believed he should avoid getting involved in politics. However, his daughter,

 Manuela, who was quite young at the time, overheard this conversation, and reminded her father

 that the country’s population was almost eight million people, and that he had been chosen from

 such a vast group. This moment deeply moved Manuel, and he decided to accept the position.

 (PSR ¶ 63). From there, in 2015, Manuel went on to become Minister Chang, Mozambique’s

 Minister of Finance.




 5
   Minister Chang’s positions included: National Deputy Director of Treasury (1985 to 1990); National
 Director of Budget (1990 to 1995); National Director for Treasury (1995 to 2000); Vice-minister of
 Planning and Financer (2000 to 2005); Minister of Finance (2005 to 2015); Member of Parliament (2015
 to 2020); Chief de SECCAO; and Chief of Department of Treasury. (PSR ¶ 80). He also held positions
 including Member of the Board of the primary Mozambique courier company, Couriers of Mozambique;
 Member of the Fiscal Banco Commercial de Mozambique; Member of the Board for Company do Gas
 Pipeline Mozambique and Zimbabwe; and President of Fiscal Board of the Bank de Mozambique. Also,
 between 2010 and 2015, the defendant was elected to be a member of the Central Committee of the
 Frelimo political party.
 6
   The World Bank Group Academy provides capacity development and training to policymakers and
 development practitioners to help them design and implement effective social and economic policies
 that reduce poverty and boost shared prosperity on a livable planet. The Academy aims to help build a
 cadre of development leaders and practitioners in WBG client countries. S e e About the WBG
 Academy, WORLD BANK GROUP ACADEMY, https://connect.newibnet.org/WBGAcademy.



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        While Manuel experienced gratifying success in his professional world, he

 simultaneously experienced significant loss in his personal world. Later in his life, Manuel lost

 four of his siblings in rapid succession: His eldest brother, Auralho Chang, died at age 67 from

 throat cancer. (PSR ¶ 58). His younger brother, Lorenzo Chang, died at age 59 from issues

 related to alcohol addiction. (PSR ¶ 58). His younger sister, Joana Chang died in her early 40s

 from human immunodeficiency virus (HIV). (PSR ¶ 58). And his youngest brother, Carlos

 Chang, died in 2015 from throat cancer. (PSR ¶ 58).

        But Manuel suffered his most significant loss in 2016. One day, in 2016, when his wife,

 Lizette, was driving a small car, she was hit by a truck. Tragically, Lizette died in the accident.

 For 39 years, Manuel and Lizette had shared a strong and happy marriage. As a result, losing

 Lizette was extremely difficult for Manuel, as she had played a significant role in helping him

 achieve much of what he had in life. (PSR ¶ 65). Though their children were adults at the time of

 her passing, Manuel felt the weight of having to step into both mother and father roles for them.

 (PSR ¶ 65).

        Since the significant losses that he has endured, Manuel has focused on helping others,

 particularly his siblings and some of his children, whose financial condition were difficult. (PSR

 ¶ 64). Prior to his incarceration, there were no limits to the financial support that Manuel

 provided to his extended family. For example, he helped register Joana’s children for school and

 paid for their books, gave Geraldina money for food, and supported Auralho’s children after his

 passing, as he had not left them in a stable financial position. (PSR ¶ 64).

                        ii.     Minister Chang’s character.

        Manuel’s humble background and experience with loss led him to become a person who

 wants to help others. According to his friends and family, this is not out of character for Manuel,




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 and is the person he always has been. One colleague described him as someone who “always had

 a welcoming and generous personality, someone willing to help those around him.” Exhibit A

 (Letter from Calisto Moises Cossa).

        Regardless of circumstances, including his incarceration for the past six years, Manuel is

 and has always been a caring father and grandfather, as well as a source of strength for his

 family. Since the significant losses that Manuel endured, he found solace in focusing on helping

 others, including his siblings and his children, whose financial conditions were especially

 difficult. (PSR ¶ 64). One of Manuel’s colleagues who had worked under him since 2004,

 remarked that knowing him for “more than twenty years [] is enough time for me to say that he is

 a person of good conduct, dedicated to his family and our community.” He added that

 “[Manuel’s] integrity and commitment to others were examples that [he] ha[d] always

 appreciated,” since Manuel had always “assumed the responsibility of taking care of his siblings,

 always present in their education and that of other family members.” Exhibit A (Letter from

 Calisto Moises Cossa).

        Another family member, one of Manuel’s nephews, expressed how his uncle had helped

 him since childhood: “We grew up in the Chamanculo neighborhood, a shantytown, where we

 faced countless difficulties. Between 1998 and 2002, my mother, Elvira, with the encouragement

 of my uncle Manuel, decided that it would be best for me to live with him.” Exhibit B (Letter

 from Elson Faizal Latifo Abubacar). Having benefitted greatly from his uncle’s generosity,

 Manuel’s nephew added, “My uncle has always shown genuine concern for others. He is known

 for helping those around him, always helping those in need, whether in times of joy or hardship.

 His generosity and integrity have left a lasting impression on everyone who has had the

 opportunity to know him.” Id.




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        Manuel’s generous spirit and desire to help others manifested as a genuine concern that

 those around him become educated, as that was Manuel’s path to independence, financial and

 otherwise. He continuously stressed the importance of education to the younger generation, and

 through his actions, inspired and helped educate his family, friends, and those around him. His

 youngest daughter, Manuela, recalls that her father “always said that the greatest help he could

 give was academic and professional training, the basics, and moral principles.” Exhibit C (Letter

 from Manuela Chang). Indeed, he imparted this wisdom and these values to his nephew, who

 said that during the period that he lived with his uncle, “He made education an absolute priority

 in my life, constantly reinforcing that ‘study, study, study’ was the path to a better future. Thanks

 to his guidance and continuous encouragement, I was able to fulfill my dream of graduating.”

 Exhibit B (Letter from Elson Faizal Latifo Abubacar).

        Even Manuel’s grandchildren learned the values of education and hard work from him—

 Manuel’s personal values and inspiration that led him from a life of poverty on to the path of

 becoming the Minister of Finance of Mozambique. Manuel was “proud of the recognition of his

 work, and loved the profession he had chosen,” but he “always thought about teaching, [and]

 could spend all his time talking about his academic knowledge and professional career.” Exhibit

 C (Letter from Manuela Chang). And he did. One grandchild recalled that “[o]ne of my

 grandfather’s most significant teachings is that every young person should never stop studying

 because through studying, we can achieve everything we dream of and our independence.”

 Exhibit D (Letter from Ana Patrícia Martins). She described him as someone who “knows how to

 listen to the opinions of young people and guide them towards the best path with the best

 guidance, never forgetting his principles and values.” Id.




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        Significantly, Manuel’s path from poverty to becoming the Minister of Finance didn’t

 change his core. According to those close to him, Manuel has always acted with humility and

 remained down to earth, regardless of circumstances. One of Manuel’s friends, who has known

 him for over 20 years, stated that “his simplicity, humility, and way of being have always made it

 clear how important it is to be good, regardless of social status.” He explained that “[a]nyone

 who had the opportunity to spend time with him would not say they were dealing with a high-

 ranking government official devoid of all the vanity or arrogance that sometimes characterizes

 some people because they hold high management positions.” Exhibit E (Letter from Joao Maria

 Cecilia Alberto Grachane). And, he added, “Due to his straightforward manner, [Manuel] gained

 great sympathy both within and outside his family. Even those who were not his friends but

 listened to his public lectures learned from him lessons on how a man of great character should

 behave. Above all, his humility and simplicity.” Id.

        This sentiment was echoed by employees who worked for Manuel’s family in his home.

 One employee expressed gratitude, that “Manuel had played a vital role in my life because,

 through our conversations, he always wanted me to improve myself and provide better living

 conditions for my children. Anyone with the privilege of spending time with him knows how

 valuable a man he is, always willing to help and with an uncommon humility.” Exhibit F (Letter

 from Hermenegildo Limeme).

        Another employee who had been working for Manuel’s family since 2003, described

 “Mr. Manuel” as “an extremely approachable person, allowing his employees to approach him

 (in fact, we didn’t even feel like employees, but rather like family) since he was very friendly

 even when he held critical positions.” Exhibit G (Letter from Salomão Sitoe). By example, his

 employee explained that Manuel was “[a] man of simple habits, he would do everything from




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 clearing the table to filling up the car all by himself (it may seem like something simple,

 something that any human being would do, but let’s remember that at the time, he was the

 Minister of Economy and Finance of a country).” And of course, in typical fashion, his employee

 recalled that “[w]henever possible, when [Manuel] wasn’t busy with his duties, he loved to chat,

 trying to find out about our goals and where we wanted to be in a few years, insisting that we had

 to prioritize and always opt for studies.” Id.

        Throughout his career, Manuel remained a source of inspiration to not only his family,

 but to his colleagues as well. As articulated by Mr. Cossa, who worked in the Mozambique

 government under Manuel for over 20 years, “Ethics and integrity have always guided Manuel

 Chang, and his life trajectory reflects a genuine commitment to his family and society.” Exhibit

 A (Letter from Calisto Moises Cossa). Mr Cossa remarked, “I learned a lot with Manuel Chang

 as a man and a professional. I improved my academic training because he always advised me to

 study, and a properly educated man is prepared for any challenge in life. Id. He further explained,

 “His teachings and advice gave me technical knowledge and essential values, such as ethics,

 determination, and responsibility. It was thanks to him that I was able to follow a successful path,

 which allowed me to occupy influential positions and be recognized for my contribution in the

 various areas where I worked with Mr. Manuel Chang, from his Assistant, Head of the Public

 Relations Department, Communications Office and Advisor.” Id. “Over the years, he has spoken

 out against harmful behavior and has always strived to do what is right.” Id. According to Mr.

 Cossa, Manuel influenced his life “as the kind of man he has always been: a mentor, a guide, and

 an example of integrity.” Id. With Manuel’s support, Mr. Cossa was eventually elected to the

 position of President of the Municipal Council of the City of Matola, the largest municipality in

 Mozambique. Id.




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        Another colleague, Ms. Bernado, recalls a similar story of professional support from

 Manuel. Exhibit H (Letter from Ludovina Bernado). She recalled, “When I experienced difficult

 times [], I did not hesitate to ask him for help, and he promptly gave me the support I needed,

 even though I was just his collaborator. I felt valued and through his vote of confidence I

 progressed professionally until I became a leader in one of the most important public companies

 in Mozambique.” Id.

        Beyond the personal assistance and guidance Manuel provided to those around him, the

 benefits of Manuel’s personal integrity and professional contributions were far and wide. One of

 Manuel’s colleagues, Mr. Alves—who attended Manuel’s trial in the E.D.N.Y.—described the

 effect that Manuel’s professional contributions had on the economy of Mozambique. Mr. Alves

 “met Minister Chang in 2010, when [Mr. Alves] had just taken over as Deputy Director General

 of the Mozambique Investment Promotion Centre (CPI), at a time when Mozambique’s economy

 was growing at an unprecedented pace, that is, at a Gross Domestic Product (GDP) annual

 growth rate of 8 to 9%, ranking among the 10 fastest growing economies in the world.” Mr.

 Alves observed firsthand that “[t]he good economic policies (monetary and fiscal) adopted by

 the Government contributed to Mozambique’s good economic performance.” Exhibit I (Letter

 from Godinho Alves). But Mr. Alves was clear that Manuel himself had greatly contributed to

 this outcome. He said about Manuel, that “[a]s Minister of Finance, Mr. Chang has contributed in

 part to the better pursuit and proper implementation of the most disciplined, responsible and

 pragmatic monetary and fiscal policies, proving his commitment to the country.” Id. He added

 that “Mr. Manuel Chang is a man of integrity, visionary and dedicated to the highest interests of

 the nation, having contributed to the adoption of better economic policies in the county. There is

 no doubt that Minister Chang left an indelible legacy in Mozambique, both among his




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 colleagues, family and friends.” Id. Succinctly put by another colleague: “He is an inspiring

 leader, and a politician dedicated to the cause of the Nation.” Exhibit H (Letter from Ludovina

 Bernado).

        As described by one individual who had never met Manuel, Manuel inspired an entire

 generation of economists in Mozambique. He wrote, that “[w]hile I have not known Mr. Chang

 personally, I have followed part of his tenure as the Mozambique’s Minister of Finance in critical

 times of the Mozambique economic transition from a socialist into a market economy. I have

 witnessed Mr. Chang’s commitment and role, under very difficult conditions, to his work as a

 leader and mentor to many of my peer young economists in Mozambique. Through his efforts

 and extraordinary support, a generation of competent economists has subsequentially succeeded

 into brilliant careers domestic and internationally.” Exhibit J (Letter from Rui Benfica).

        Minister Chang’s profound dedication and contributions to the development of his family,

 his friends, his colleagues, and his country, cannot be overlooked when determining an

 appropriate sentence for him.

                        iii.     Minister Chang’s incarceration since December 2018.

        Minister Chang was arrested on December 29, 2018, when he was 63 years old. Exhibit

 K (Letter from Stiaan Krause). He was incarcerated in South Africa at Modderbee Prison until

 July 12, 2023, when he was extradited to the United States of America, after having been

 incarcerated for a period of 4 years, 6 months and 13 days. Id.

        While incarcerated at Modderbee Prison, Minister Chang did not receive proper care for

 his health issues. According to Christian Krause, an admitted legal practitioner of the High Court

 of South Africa, duly licensed to practice law in the Republic of South Africa—and the

 individual who represented Manuel in the Republic of South Africa: “At the time of Mr. Chang’s




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                                                                            At the time of Mr.

 Chang’s bail application, and as early as January 2019, the aforesaid were brought to the

 attention of the Magistrates’ Court, Kempton Park.” Id.

        Mr. Krause, who saw Minister Chang in Modderbee Prison on a regular basis, expressed

 that “[t]he conditions of Mr. Chang’s incarceration were dire. In respect of his medical needs, he

 was not provided with a low sodium diet (as required).” Id. Moreover, “Mr. Chang spent the vast

 majority of his time in incarceration under solitary confinement. The result of that was that he

 was deprived of his freedom of movement (within the confines of the correctional services

 centre) for approximately 23 hours a day. Resulting from the aforesaid, there was no opportunity

 to do any physical exercise. The facilities of the correctional centre were of such a nature that

 Mr. Chang could not be provided physical therapy.” He was not permitted to have any contact

 visits from anyone excluding his legal team and therefore could also not secure the services of an

 external physical therapist.” Id.

        According to Minister Chang’s daughter, Manuela, this isolation had a deleterious effect

 on Manuel’s mental state, as she expressed deep concern that her father had “spent five years in

 prison in South Africa, where he could not maintain physical contact with his family.” (PSR ¶

 67). Minister Chang’s family visited him in South Africa while he was in custody, but it was a

 difficult trip which required a one hour flight, followed by a five-hour drive, and the visits were

 limited. (PSR ¶ 67). Exacerbating conditions, Minister Chang was incarcerated over the period of

 COVID-19, presenting unprecedented challenges and isolation in an already dire circumstance.




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 Manuela lamented that “[i]t has been more than six years since we last hugged our father, whom

 we love very, very, very much,” adding that he “clings to the hope of being able to hug us again,

 to live as a family, and to be a citizen with social usefulness.” Exhibit C (Letter from Manuela

 Chang).

        When Minister Chang was extradited to the United States of America, his conditions of

 pre-trial incarceration did not improve. In July 2023, he was brought from Modderbee Prison in

 South Africa to Metropolitan Detention Center in Brooklyn, New York—a detention center

 plagued with a host of issues. Minister Chang has remained incarcerated there for 16 months—

 12 of which were pre-trial. On August 22, 2024, he turned 69 years old while in MDC.

                        iv.     Minister Chang’s mental health.

        According to his youngest daughter, Manuel speaks to his grandchildren daily, putting on

 a strong front, but they are unsure how he is truly feeling. (PSR ¶ 67).

                                                       Manuela expressed concern, sharing that

 “[w]e lost our mother in 2016. Since then, he has been with us, trying to be a father and mother,

 but we know how much he suffers and tries to show us that he is strong. There is no way to be

 strong after having ended his career in prison, being far from his family, far from his culture, far

 from home, from the growth of his grandchildren.” Exhibit C (Letter from Manuela Chang).

                        v.      Minister Chang’s physical condition.

        Minister Chang’s medical records indicate that his daughter’s concern for her father and

 her suspicion that he is not doing as well as he says is not unfounded. Specifically, when the

 probation officer inquired at Minister Chang’s presentence interview about his three visits to the

 hospital (the most recent visit occurring the day before his presentence interview) where blood

 work was conducted, and the




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            2. 18 U.S.C. § 3553(a)(2): A Sufficient Sentence.

        The Court is tasked with imposing a sentence that is “sufficient, but not greater than

 necessary” to comply with the purposes set forth in the statute: “to reflect the seriousness of the

 offense, promote respect for the law, and provide just punishment for the offense; to afford

 adequate deterrence to criminal conduct; to protect the public from further crimes of the

 defendant; and to provide the defendant with needed educational or vocational training, medical

 care, or other correctional treatment in the most effective manner.” 18 U.S.C. § 3553(a)(2). We



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 respectfully submit that, under an analysis of these factors, Minister Chang’s pre-trial

 incarceration of six years already served has been greater than necessary to meet the intended

 objectives of sentencing, let alone sufficient.

                    a. 18 U.S.C. § 3553(a)(2)(A): The need to reflect the seriousness of the offense,
                    promote respect for the law, and provide just punishment for the offense.

         To date, Minister Chang has been incarcerated for 71 months—one month short of six

 years. As discussed herein, he spent 56 months in Modderbee Prison in South Africa, and the

 remaining 15 months in the Metropolitan Detention Center in Brooklyn, New York. Minister

 Chang is now 69 years old. Given the length and circumstances of his incarceration, we

 respectfully request the Court find that his pre-trial sentence has been greater than necessary to

 reflect the seriousness of the offense, promote respect for the law, and provide just punishment

 for his offense.

                           i.      Minister Chang would be entitled to credit for good behavior.

         As an initial matter, had Minister Chang been a citizen of this country, sentenced to 71

 months of incarceration in the United States, he would have had the opportunity to receive credit

 towards early release. 18 U.S.C. § 3624(b) provides for early release of prisoners who have

 displayed exemplary compliance with institutional disciplinary regulations. For each year a

 prisoner has been in custody, he or she may be credited with up to 54 days toward a prison

 sentence, subject to the determinations of the Bureau of Prisons that the prisoner deserves such a

 credit; in the final year of incarceration, the good-behavior credit is prorated. United

 States v. Speed Joyeros, S.A., 204 F. Supp. 2d 412, 443 (E.D.N.Y 2002). Pretrial incarceration is

 entitled to this credit. Id. Minister Chang was incarcerated in Modderbee Prison in South Africa

 for almost five years with no disciplinary issues, yet he was not afforded the opportunity for

 credit against his time in custody because he was not in a United States prison. Nor has he



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 incurred any disciplinary infractions while in federal custody at MDC. See PSR ¶ 68. Pursuant to

 Section 3624(b), Minister Chang has served the same amount of time he would have been

 required to serve had he been sentenced to 83 months.

                        ii.     Minister Chang’s conditions in both Modderbee Prison and MDC
                                were dire.

        As discussed above, the conditions of Minister Chang’s incarceration at Modderbee

 prison were dire, where he spent approximately 23 hours a day in solitary confinement. To

 accurately describe his condition at Modderbee, Minister Chang’s attorney in South Africa noted

 the remark by Gubbay CJ in the Zimbabwean Supreme Court in the matter of Conjwayo v

 Minister of Justice, Legal and Parliamentary Affairs 1992 (2) SA 56 (ZS), in which he stated: “In

 my opinion, to deprive the Applicant of access to fresh air, sunlight and the ability to exercise

 properly for a period of 23 hours per day, by holding him in a confined space, is virtually to treat

 him as non-human.” Exhibit K (Letter from Stiaan Krause). Furthermore, due to the conditions

 of his incarceration in Modderbee Prison, Minister Chang was prevented from receiving

 adequate medical care for his ailing health, and deprived of any contact with his family during

 limited visits. These conditions were compounded by the fact that he was incarcerated

 throughout the global pandemic (COVID-19)—a period that lasted for over two years. Minister

 Chang endured those conditions at Modderbee Prison for almost five years. Id.

        When Minister Chang was extradited to the United States in July 2023 and transferred to

 MDC, the conditions there were not an improvement for him. As the Court in United States v.

 Griffin recently acknowledged, “it has been well documented that the MDC has an ongoing issue

 with frequent lockdowns due to violence and the threat of violence, among other concerns, which

 has delayed medical care for a number of inmates. See, e.g., United States v. Chavez, No. 22-CR-

 303 (JMF), 2024 WL 50233, *5-*8 (S.D.N.Y. Jan. 4, 2024) (noting frequency of lockdowns —



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 including as a result of violence — and of delayed medical care).” United States v. Griffin, 2024

 WL 2891686, at *3 (E.D.N.Y. June 10, 2024). Not only has Minister Chang experienced multiple

 lockdowns at MDC due to violent crimes occurring within MDC, but here in the United States at

 MDC, he has been completely isolated from his family and friends, and further isolated due to

 the fact that he speaks Portuguese—not English. In the past 15 months, the only visits Minister

 Chang has received at MDC have been from his U.S. counsel.

        Courts in this Circuit have recognized that the conditions of incarceration endured by

 Minister Chang are more punitive than would have otherwise been the case. For example, in

 resolving a compassionate release motion, the court in United States v. Hatcher considered the

 effect that COVID related conditions had on incarcerated individuals. The Hatcher court

 recognized that under these circumstances, “courts . . . have considered the extent to which

 onerous lockdowns and restrictions imposed by correctional facilities attempting to control the

 spread of the virus have made sentences ‘harsher and more punitive than would otherwise have

 been the case.’” United States v. Hatcher, 2021 WL 1535310, at *3 (S.D.N.Y. Apr. 19, 2021)

 (quoting United States v. Rodriguez, 492 F. Supp. 3d 306, 311 (S.D.N.Y. 2020)); see also United

 States v. Mcrae, 2021 WL 142277, at *5 (S.D.N.Y. Jan. 15, 2021) (“[A] day spent in prison under

 extreme lockdown and in fear of contracting a deadly virus exacts a price on a prisoner beyond

 that imposed by an ordinary day in prison. While not intended as punishment, incarceration in

 such conditions is, unavoidably, more punishing.”); United States v. Lora, 2022 WL 1055749, at

 *5 (S.D.N.Y. Apr. 8, 2022). Minister Chang experienced lockdowns while incarcerated, before,

 during, and after COVID—his isolation was not confined to the period of pandemic. He endured

 prison conditions for almost 6 years that are considered by courts in this Circuit to be “harsher

 and more punitive” than intended. See, e.g., United States v. Tellier, 2022 WL 1468381, at *4




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 (S.D.N.Y. May 10, 2022) (“Although the harsh conditions of confinement do not, on their own,

 constitute extraordinary and compelling reasons, courts have recognized that the pandemic has

 made incarceration harsher and more punitive than would otherwise have been the case.”).

        When considering whether a defendant is entitled to early release on the basis of

 compassion, courts in this Circuit have also recognized other limiting circumstances that

 Minister Chang has and continues to endure in while in custody. For example, in granting

 compassionate release for a non-citizen, the court in United States v. Londono noted that “[t]he

 defendant also has had a series of health conditions, including one three-day stay at a hospital,

 and some of these conditions have not received prompt attention from the Bureau of Prisons.”

 2022 WL 17905065, at *2 (S.D.N.Y. Dec. 23, 2022). The court further acknowledged that

 “[b]ecause the defendant has been housed at facilities outside the range that his family could

 reasonably travel to visit him frequently, his family contact during his period of incarceration has

 also been severely limited.” Id. Although Minister Chang is not being considered for

 compassionate release at this time, factors that courts consider when determining such a

 motion—factors that require a consideration of compassion—are relevant to determining

 whether his nearly six-year sentence has been sufficient, but not greater than necessary, to

 provide just punishment for the offense.

                        iii.   The stress of Minister Chang’s pretrial incarceration should be
                               considered.

        A court may depart if the defendant has suffered from unusual stress due to a lengthy or

 particularly stressful incarceration. See, e.g., United States v. Ekwunoh, 888 F. Supp. 369, 374

 (E.D.N.Y. 1994); United States v. Hoffenberg, 1997 WL 96563, at *12 (S.D.N.Y. Mar. 5, 1997).

 For example, in Speed Joyeros, in determining that a downward departure from the sentencing

 guidelines was appropriate, the court considered that “lengthy pretrial incarceration, and the


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 stress and uncertainty which accompanies such lack of freedom, may be a factor removing a case

 from the ‘heartland’ of the guidelines sufficiently to warrant departure.” 204 F. Supp. 2d at 441.

 The court pointed to the defendant in Ekwunoh for example, where “[she] was in pretrial

 detention for two and a half years. During this time, her case was subject to various appeals. In

 addition, her family situation deteriorated because of her incarceration . . . . The effect of her

 pretrial incarceration was sufficient to remove that case from the heartland of the guidelines, and

 a departure was granted.” Id. (internal citations omitted). Minister Chang spent almost five years

 in pretrial incarceration in South Africa, unsure of whether he would be returned to Mozambique

 to be tried in his own country, or extradited to the United States. We respectfully request that the

 Court consider this additional stress upon Minister Chang of waiting in uncertainty, beginning

 when he was 63 years old and continuing for almost 5 years, in determining whether his

 punishment to date has been sufficient to reflect the offense.

                        iv.     Had Minister Chang been tried at the time of his arrest in 2018
                                and sentenced 6 years ago, he would be eligible for compassionate
                                release today.

        Under certain circumstances, defendants in the United States are entitled to consideration

 for compassionate release. U.S.S.G. §1B1.13 provides for a “Reduction in Term of

 Imprisonment” under 18 U.S.C. § 3582(c)(1)(A). Specifically, upon motion of the Director of the

 Bureau of Prisons or the defendant pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may reduce

 a term of imprisonment (and may impose a term of supervised release with or without conditions

 that does not exceed the unserved portion of the original term of imprisonment) if, after

 considering the factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the

 court determines that extraordinary and compelling reasons warrant the reduction. See 18 U.S.C.

 § 3582(c)(1)(A). Pursuant to the guideline, extraordinary and compelling reasons exist under any




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 of the following circumstances or a combination thereof if the defendant: (A) is at least 65 years

 old; (B) is experiencing a serious deterioration in physical or mental health because of the aging

 process; and (C) has served at least 10 years or 75 percent of his or her term of imprisonment,

 whichever is less. U.S.S.G. §1B1.13(b)(2).

        Had Minister Chang been tried, convicted, and sentenced, closer to the time of his arrest,

 today, he would be eligible for compassionate release. Minister Chang is 69 years old, and as

 discussed herein,

                                                                       If this Court were to find

 that a sentence of 8 years were appropriate for him, then to date, Minister Chang would have

 served 75% of such a prison term.

        Upon consideration of the factors above, we respectfully request this Court find that that

 Minister Chang’s pre-sentence-incarceration period of six years has been sufficient punishment

 for the offense for which he was convicted, and no further incarceration is necessary.

 Specifically, six years of incarceration without time reduced for good behavior—five of which

 were spent on lockdown, compounded with the anxiety related to the global pandemic—with

 limited access to adequate healthcare and no physical contact with his family, and now, no visits

 from his family whatsoever, is sufficient punishment for a 69 year old Mozambique national,

 convicted for a non-violent crime with no determined losses.

        When determining a sentence, it should be sufficient but not greater than necessary to

 achieve all of the sentencing goals—not punishment alone. Probation’s flawed method of

 calculating Minister Chang’s base offense in order to arrive at a recommendation for a life

 sentence for him reflects an unfortunate desire for punishment without regard to the other factors

 this Court must consider. In addition to just punishment, the Court must craft a sentence that also




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 considers the need for protecting the public, specific and general deterrence, and rehabilitation.

 As discussed below, those considerations all point to the conclusion that time served is the only

 appropriate sentence for Minister Chang.

                b. 18 U.S.C. § 3553(a)(2)(B): The need to afford adequate deterrence to criminal
                conduct.

        18 U.S.C. § 3553(a)(2)(B) provides that the Court, in crafting an appropriate sentence,

 should consider the need to adequately deter criminal conduct, both by the defendant as well as

 others. There is little need for a sentence including further incarceration to promote specific

 deterrence for Minister Chang, as he is highly unlikely to be a repeat offender. He has already

 suffered complete devastation to his career and his reputation for brilliance and extremely hard

 work. Minister Chang lost virtually all of his business contacts overnight, and his conviction

 ensures he will never be able to work in Mozambique’s government again. See Adelson, 441 F.

 Supp. 2d at 514 (specific deterrence was achieved where defendant’s reputation was ruined by

 his conviction for a white-collar crime, and he was extremely unlikely to involve himself in

 future misconduct); Gupta, 904 F. Supp. 2d at 355 (concluding that a reputational blow makes it

 unlikely a particular defendant would “repeat his transgressions and no further punishment is

 needed to achieve this result.”). Until Minister Chang was arrested South Africa, he was a highly

 respected member in his community, in his country. But now that has been completely

 devastated. Minister Chang’s highly publicized incarceration over the last six years, and

 reputational harm resulting from global press coverage regarding his case make it extremely

 unlikely that he will ever be entrusted with the same types of professional responsibilities that he

 experienced throughout his life, whether for the government of his country, or anywhere.

        Also, based on Minister Chang’s age, the inherent likelihood of recidivism is

 significantly reduced. In making such a determination, the court in United States v. Herbert



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 relied upon United States Sentencing Commission “statistics showing that the rate of recidivism

 drops dramatically as age increases and is significantly lower for those with lower criminal

 history categories. See, e.g., U.S. Sentencing Commission, Recidivism of Federal Offenders

 Released in 2010 at 30 (2021).” 2024 WL 1931962, at *3 (S.D.N.Y. May 2, 2024), The court

 determined that the defendant, a fifty-year-old, was in the lowest criminal history category,

 where his “re-arrest rate is 15%, compared to a re-arrest rate of 67% for those younger than 21.”

 Id.

         Moreover, given the fact that Minister Chang’s case over the last six years has been

 highly publicized worldwide—including his pre-trial detention in two foreign countries under

 such dire conditions—this is sufficient to deter other individuals, including foreign public

 figures, from committing crimes that reach the United States, without having to incarcerate

 Minister Chang for any longer period than he has already served. 7

         Based on the foregoing, this Court should find that keeping Minister Chang incarcerated

 for any longer than the six-year period that he has already spent in custody is not required to

 deter him or anyone else from committing future crimes in the United States.

                 c. 18 U.S.C. § 3553(a)(2)(C): The need to protect the public from further crimes
                 of the defendant.

         18 U.S.C. § 3553(a)(2)(B) requires that the Court consider the need to protect the public

 from further crimes of the defendant. As discussed above, there is no doubt that Minister Chang

 poses no threat to the American or Mozambique public. His publicized arrest and conviction—

 which serves as a deterrent to him committing future crimes—simultaneously assures that the

 public will be adequately protected from Minister Chang in the future. That he will be deported



 7
  It is worth noting that “increases in severity of punishments do not yield significant (if any) marginal
 deterrent effect.” Michael Tonry, Purposes and Functions of Sentencing, 34 Crime & Just. 1, 28 (2006).


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 to Mozambique at the conclusion of his sentence further assures that he will not pose a threat to

 the American public.

                  d. 3553(a)(2)(D): The need to provide the defendant with needed educational or
                  vocational training, medical care, or other correctional treatment in the most
                  effective way.

         Pursuant to 18 U.S.C. § 3553(a)(2)(D), the Court must also consider the need for any

 sentence imposed “to provide the defendant with needed educational or vocational training,

 medical care, or other correctional treatment in the most effective manner.” 18 U.S.C. §

 3553(a)(2)(D).




                                                     Minister Chang does not require vocational

 training, and the services which may be available to him through incarceration as a noncitizen

 are limited and would not serve to rehabilitate him. Instead, being able to return to his family in

 Mozambique will have the greatest rehabilitative force, whereas a sentence including additional

 imprisonment would further punish not just him, but his entire family.

         3. 18 U.S.C. § 3553(a)(3).

         The Court must also consider the “kinds of sentences available.” 18 U.S.C. § 3553(a)(3).

 Here, probation acknowledges that, pursuant to 18 U.S.C. § 3583(b)(2), “[t]he Court may impose

 a term of supervised release of not more than three years” for Counts 1 and 2. See PSR ¶ 90. If

 the Court finds that after a consideration of all of the relevant factors, a further sentence is

 required for Minister Chang, respectfully, given his age and isolation from his family, culture,

 and language, the Court should sentence him to a term of supervised release, to be served in his

 homeland, Mozambique. A further sentence of incarceration in a United States prison will only




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 exacerbate those circumstances that Minister Chang faces, potentially creating further isolation,

 as it is possible that he would be incarcerated in a prison away from his legal counsel—sadly, the

 only connection he has here.

        The court in Speed Joyeros considered the parameters of supervised release for a non-

 citizen, concluding that “[t]he fact that [the defendant] will probably be promptly deported and

 thus unsupervised during [the] term of ‘supervised release’ does not lift the court imposed

 inhibitions; the court may consider the defendant’s background in concluding that [the

 defendant] is unlikely to violate [the] supervised release terms.” Speed Joyeros, 204 F. Supp. 2d

 at 440-41. Considering Minister Chang’s background, character, and circumstances of his

 incarceration, he is unlikely to violate any terms of supervised release that this Court may

 impose, if it decides it a longer sentence is required.

        4. 18 U.S.C. § 3553(a)(6).

        18 U.S.C. § 3553(a)(6) directs the Court to consider “the need to avoid unwarranted

 sentencing disparities among defendants with similar records who have been found guilty of

 similar conduct.” As an initial matter, given the circumstances of Minister Chang’s arrest, pre-

 trial incarceration in South Africa, and conviction by a United States jury, his circumstances are

 not easily compared to United States “defendants with similar records who have been found

 guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). United States citizens do not face the same

 dismal incarceration circumstances as Minister Chang did, and rarely do they spend five and a

 half years in pre-trial incarceration for non-violent crimes.

        The court in United States v. Perez Sanchez recognized this disparity between United

 States and foreign defendants, acknowledging that “any defendant with a similar record who was

 found guilty of similar conduct and sentenced to supervised release is eligible to apply FSA




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 credits toward early release and, as a result, may be released from incarceration as many as

 twelve months earlier than [a foreign defendant].” 2024 WL 1069884, at *4 (E.D.N.Y.), (Mar.

 12, 2024) (citing 18 U.S.C. § 3624(g)(3)). The court held that “[a] twelve-month sentencing

 disparity between defendants who are similarly situated in all respects other than their

 immigration status is certainly unwarranted.” Id. Respectfully, this Court should also find that

 Minister Chang’s pre- and post-trial incarceration sentence of six years, without the ability to

 apply FSA credits towards early release during that time, presents, at the very least, a twelve-

 month sentencing disparity between him and a “similarly situated” American defendant.

        But that is not the extent of the incarceration disparities that Minister Chang faces as a

 non-citizen versus an American citizen in federal custody. For example, the Bureau of Prisons

 may, if practicable, place a prisoner into “pre-release custody” for a reasonable portion of the last

 ten-percent of a prison sentence, not to exceed 6 months. See 18 U.S.C. § 3624(c). The

 prerelease custody, which may include home confinement, affords the prisoner the opportunity to

 adjust and prepare for re-entry into society. Id. But as the court found in Londono, “because the

 defendant is not a citizen, he has been unable to make use of various release options.” 2022 WL

 17905065, at *2. Although probation points out that while in federal custody, Minister Chang has

 “participated in no education courses, and did not complete any work assignments,” (PSR ¶ 68),

 he speaks Portuguese and requires an interpreter, and is 69 years old with debilitating health

 issues. Moreover, while Minister Chang was in custody at Modderbee Prison, any such programs

 which may have contributed to his early release were not available to him.

        While the Court is not required to consider disparities between co-defendants, courts

 frequently do, and the Second Circuit has approved this practice. See United States v. Frias, 521

 F.3d 229, 236 (2d Cir. 2008). For example, in United States v. Goffer, 721 F.3d 113, 130 (2d Cir.




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 2013), the Second Circuit found that the district court had properly considered sentencing

 disparities between similarly situated defendants. The Goffer court noted that “the district court

 weighed ‘the need to avoid unwarranted sentencing disparity between Mr. Goffer and similarly

 situated defendants.’ The district court distinguished between Goffer and his co-defendants” and

 found a disparate sentence between co-defendants because that defendant was the “leader[ ] of a

 fraudulent enterprise” who “recruited people” and poisoned other traders. Id. Thus, because “a

 district court may—but is not required to—consider sentencing disparity among co-defendants

 under 18 U.S.C. § 3553(a)(6),” this Court should consider the sentences of other co-defendants

 in this case. See United States v. Johnson, 567 F.3d 40, 54 (2d Cir. 2009); United States v.

 Medina, 607 F. App’x 60, 61 (2d Cir. 2015),

        As Minister Chang’s defense counsel repeatedly pointed out, the individual who the

 government has alleged was the mastermind of the criminal scheme, Jean Boustani, was

 acquitted and therefore, of course, received no sentence. The only individual to have been

 sentenced in this case is Detelina Subeva, whose conduct was significantly more culpable than

 Manuel’s. Indeed, the evidence in Minister Chang’s trial established that she was the individual

 who drafted the EMAMTUM and MAM business plans that her partner, Andrew Pearse, testified

 were “rubbish.” See Tr. at 590, 733, and 831 (Andrew Pearse testifying that Detelina Subeva

 worked on the EMATUM and MAM business plans); Tr. at 391 (Andrew Pearse testifying that

 the MAM loan was rubbish. There was no chance from the outset that the MAM business plan

 would have succeeded”). Mr. Pearse testified that he entered into an agreement with Ms. Subeva

 but that he never entered into any illegal agreement with Minister Chang. See, e.g., Tr. at 472;

 Tr. at 474-75 (“I did not have an agreement[] with Mr. Chang.”). Mr. Pearse further testified that

 as part of his agreement with Ms. Subeva, he lied to Minister Chang about the MAM business




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 plan, and never told Minister Chang he believed it to be rubbish, thereby leaving Minister Chang

 to believe in the project and to support it. See Tr. at 787 (Pearse Testimony) (Q: “And when you

 met with him, you did not tell Minister Chang that you thought the MAM business project was

 rubbish, did you?” A: “No.”). Ms. Subeva also received significant sums of money which she

 actually received and used. Mr. Pearse testified that he gave Ms. Subeva over $2,000,000. Tr. at

 158 (Pearse Testimony) (Q: “Did you make payments to Ms. Subeva in connection to the loan to

 Mozambique?” A: “Yes, I did.” Q: “How much?” A: “I gave her $2.2 million.”). Minister

 Chang, in contrast to Ms. Subeva, never received a single penny of the money that was sent to

 Luis Brito’s bank accounts, which Mr. Brito himself later sent to the government of

 Mozambique. Ms. Subeva did not receive any incarceration as part of her sentence. See ECF No.

 447; 447-1.

        Although this Court is not required to consider the sentence given to Ms. Subeva, we

 respectfully submit that it should take this non-incarceration sentence into consideration.

                                          CONCLUSION

        For the foregoing reasons, Minister Chang respectfully requests that this Court find a

 sentence of time already served by Minister Chang is sufficient to satisfy the goals of sentencing.

 Dated: November 6, 2024




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                                          Respectfully submitted,

                                          FORD O’BRIEN LANDY LLP

                                           /s/ Adam C. Ford
                                          Adam C. Ford
                                          Jamie H. Solano
                                          Anjula S. Prasad
                                          Stephen R. Halpin III
                                          Carolyn A. Sartori
                                          275 Madison Avenue, 24th Floor
                                          New York, NY 10016
                                          aford@fordobrien.com
                                          jsolano@fordobrien.com
                                          aprasad@fordobrien.com
                                          shalpin@fordobrien.com
                                          csartori@fordobrien.com

                                          Attorneys for Defendant Manuel Chang




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 6, 2024, a true and correct copy of the foregoing was

 served via the Court’s ECF filing system on all counsel of record.


                                                                      /s/ Adam C. Ford
                                                                      Adam C. Ford




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